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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                   8:00CR130
       vs.                                  )
                                            )                     ORDER
ALFREDO CORTES,                             )
                                            )
                     Defendant.             )



       This matter is before the court on defendant's unopposed MOTION FOR EXTENSION
OF TIME TO FILE PRETRIAL MOTIONS [397].     For good cause shown, I find that the motion
should be granted. The motion will be deemed as timely filed. The defendant will be
given the requested approximate 45-day extension. Pretrial Motions shall be filed by
July 5, 2007.

       IT IS ORDERED:

        1.    Defendant's MOTION FOR EXTENSION OF TIME TO FILE PRETRIAL MOTIONS
[397] is granted. Pretrial motions shall be filed on or before July 5, 2007.

       2.     Defendant is ordered to file a waiver of speedy trial as soon as practicable.

       3.     The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional
time arising as a result of the granting of the motion, i.e., the time between May 21,
2007 and July 5, 2007, shall be deemed excludable time in any computation of time
under the requirement of the Speedy Trial Act for the reason defendant's counsel
required additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).

       DATED this 23rd day of May, 2007.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
